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 4
                                    UNITED STATES DISTRICT COURT
 5
                                   CENTRAL DISTRICT OF CALIFORNIA
 6                                      LOS ANGELES DIVISION

 7    Catherine Noonan,                                         Case No.
 8
            Plaintiff,                                          COMPLAINT FOR DAMAGES
 9                                                                UNDER THE FAIR DEBT
      v.                                                         COLLECTION PRACTICES
10                                                                ACT, ROSENTHAL FAIR
11
      Halsted Financial Services, LLC                               DEBT COLLECTION
      c/o Illinois Corporation Service Company                     PRACTICES ACT, AND
12    801 Adlai Stevenson Drive                                 OTHER EQUITABLE RELIEF
      Springfield, IL 62703
13

14
            Defendant.                                          Jury Demand Requested

15
                                          JURISDICTION AND VENUE
16

17
       1. This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C. §1692k(d).

18     2. Venue is proper because a substantial part of the events giving rise to this claim occurred in this
19         District.
20
                                                     PARTIES
21
       3. Plaintiff is a resident of the State of California.
22

23     4. Plaintiff is a “consumer” as defined in the Fair Debt Collection Practices Act, 15 USC 1692 et

24         seq. (“FDCPA”).
25
       5. Plaintiff incurred a “Debt” as defined in the FDCPA.
26
       6. Defendant is a company with its principal office in the State of Illinois.
27
       7. Defendant acquired the Debt after it was in default.
28




                                                    COMPLAINT - 1
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       8. Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after the
 1

 2        same were in default.

 3     9. Defendant uses instruments of interstate commerce for its principal purpose of business, which is
 4
          the collection of debts.
 5
       10. At all times relevant, Defendant was a “debt collector” as defined in the FDCPA.
 6

 7
                                     FACTS COMMON TO ALL COUNTS

 8     11. On or around March 4th,2022, Plaintiff’s attorney sent a letter to Defendant notifying Defendant
 9        that Plaintiff was represented by an attorney with respect to the Debt.
10
       12. Despite having notice of Plaintiff’s representation, Defendant communicated with Plaintiff at
11
          least one (1) more time thereafter.
12

13     13. By communicating with Plaintiff after having notice of Plaintiff’s representation, Defendant

14        violated the FDCPA.
15
       14. By communicating with Plaintiff after having notice of Plaintiff’s representation, Defendant
16
          violated the Rosenthal FDCPA.
17
       15. Defendant actions, directly and proximately, caused undue stress and anxiety for Plaintiff; thereby
18

19        damaging Plaintiff.

20     16. As a direct and proximate result of Defendant’s actions, Plaintiff expended time and money
21
          consulting a lawyer, and/or incurred attorney fees and costs.
22
       17. As a direct and proximate result of Defendant’s actions, Plaintiff expended time and money
23

24
          consulting a lawyer, and/or incurred attorney fees and costs.

25                                     COUNT I – FDCPA VIOLATION
26     18. Plaintiff incorporates all the allegations and statements made above as if reiterated herein.
27

28




                                                  COMPLAINT - 2
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       19. Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading methods to
 1

 2         collect a debt.

 3                                     COUNT II – FDCPA VIOLATION
 4
       20. Plaintiff incorporates all the allegations and statements made above as if reiterated herein.
 5
       21. Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to
 6

 7
           collect, or attempt to collect, the Debt.

 8                                     COUNT III – FDCPA VIOLATION
 9     22. Plaintiff incorporates all the allegations and statements made above as if reiterated herein.
10
       23. Defendant violated 15 USC § 1692c(a)(2) by communicating with Plaintiff after having notice of
11
           attorney representation.
12

13                                    COUNT IV – ROSENTHAL FDCPA

14     24. Violation of the Rosenthal Fair Debt Collection Practices Act.
15
       25. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
16
       26. Defendant violated California Civil Code §1788.14(c) by communicating with Plaintiffs despite
17
            having written notice that Plaintiffs were represented by an attorney.
18

19                                               JURY DEMAND

20     27. Plaintiff demands a trial by jury.
21
                                             PRAYER FOR RELIEF
22
       28. Plaintiff prays for the following relief:
23

24
            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at trial, suffered as

25              a direct and proximate result Defendant’s violations of the Fair Debt Collection Practices
26              Act, pursuant to 15 U.S.C. §1692k(a)(1);
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                                                       COMPLAINT - 3
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           b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s violations of
 1

 2            the Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(2)(A);

 3         c. Judgment against Defendant for $1,000 in statutory damages for Defendant’s violations of
 4
              the California Rosenthal Fair Debt Collection Practices Act, pursuant to California Civil
 5
              Code §1788.30(b);
 6

 7
           d. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs incurred in

 8            this action, pursuant to 15 U.S.C. §1692k(a)(3) and California Civil Code §1788.30(c); and
 9         e. Any other legal and/or equitable relief as the Court deems appropriate.
10

11
                                                RESPECTFULLY SUBMITTED,
12

13                                              The Litigation Practice Group
14                                              By: /s/ Richard J. Meier
                                                Richard J. Meier, Esq.
15
                                                One of her Attorneys
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                                                COMPLAINT - 4
